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HAGER LAW, LLC
Christopher W. Hager, Esq. / ID #032731994
55 Madison Avenue, Suite 400
Morristown, New Jersey 07960
(201) 452-7931
Chager@njhagerlaw.com
https://njhagerlaw.com/

Attorney for Plaintiff Matthew Swain

 MATTHEW SWAIN,                                  SUPERIOR COURT OF NEW JERSEY

                         Plaintiff,              LAW DIVISION: ESSEX COUNTY
                                                 DOCKET NO. ESX-L-4996-16
 v.
                                                              Civil Action
 HERMÈS OF PARIS; LORENZO
 BAUTISTA, Individually; ABC                     PLAINTIFF’S NOTICE OF MOTION
 Corporation(s) 1-5; and JOHN and/or             TO VACATE THE ARBITATOR’S
 JANE DOE(S) 1-5,                                AWARD AND REINSTATE HIS NEW
                                                 JERSEY LAW AGAINST
                        Defendants.              DISCRIMINATION COMPLAINT


TO:     Lawrence R. Sandak, Esq.
        Edna D. Guerrasio, Esq.
        Proskauer Rose LLP
        One Newark Center
        Newark, N.J. 07102

COUNSEL:

        PLEASE TAKE NOTICE that the undersigned attorney for Plaintiff Matthew

Swain in this New Jersey Law Against Discrimination (“LAD”) case shall move before

the Superior Court of New Jersey, Law Division, Essex County, on January 10, 2020, at

9:00 a.m. in the forenoon, or as soon thereafter as the matter can be heard, for an Order

vacating the illegal December 10, 2019 arbitrator award and to reinstate his case in the

Superior Court.




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        PLEASE TAKE FURTHER NOTICE that, in support of this motion, Plaintiff

shall rely on the accompanying Certification of Christopher W. Hager, Esq., with

exhibits, and legal brief.

        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

respectfully submitted herewith.

        PLEASE TAKE FURTHER NOTICE that Plaintiff requests oral argument if

this motion is opposed.

                                            HAGER LAW, LLC
                                            Attorney for Plaintiff Matthew Swain

                                            /s/ Christopher W. Hager

Dated: December 23, 2019




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                          CERTIFICATION OF SERVICE

       I hereby certify that the within Notice of Motion, Certification with exhibits of

Christopher W. Hager, Esq., legal brief and proposed form of Order were e-filed with the:

       Essex County Motions Clerk
       Superior Court of New Jersey
       Veterans Court House
       50 West Market Street
       Newark, NJ 07102

       And served electronically upon:

       Lawrence R. Sandak, Esq.
       Edna D. Guerrasio, Esq.
       Proskauer Rose LLP
       One Newark Center
       Newark, N.J. 07102
       Counsel for Defendants

                                             /s/ CHRISTOPHER W. HAGER

Dated: December 23, 2019




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                                                    December 23, 2019

Via eCourts

Honorable Law Division Judge
Superior Court of New Jersey
Middlesex County Courthouse
56 Paterson Street
New Brunswick, NJ 08901-0964

        RE:      Matthew Swain v. Hermès of Paris, et al.
                 Docket No. ESX-L-4996-16

Dear Honorable Judge:

        On behalf of Plaintiff Matthew Swain in this case alleging the violation of his civil rights under

the Law Against Discrimination (“LAD”), I respectfully submit this brief in support of our motion to

vacate the December 10, 2019 order of the American Arbitration Association arbitrator that illegally

dismissed Plaintiff’s claims under a statute of limitation, and reinstate his case into the Superior Court.

        On April 23, 2019, the Appellate Division affirmed the Law Division Judge’s decision that

Plaintiff Swain’s timely filed LAD claims were to be arbitrated pursuant to the written agreement of his

former employer, Defendant Hermès of Paris. The Appellate Division held “[a]rbitration therefore is

the appropriate forum for resolution of the parties’ dispute, rather than the Law Division,” and that

“[w]e therefore order the parties to arbitrate plaintiff’s claims.”1 That is the law of this case.



1
 The Supreme Court has defined “to arbitrate” to mean to “decide.” Morgan v. Sanford Brown Institute, 225 N.J. 289, 304-
05 (2016)(quoting First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 946 (1995)).




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        In furtherance of its order that Plaintiff Swain’s claims be arbitrated, the Appellate Division

also voided, as against public policy, the arbitration agreement’s provision that Plaintiff “will be

responsible for [his] attorneys’ fees” in the LAD arbitration:

                 Plaintiff opposed [Hermès] motion to dismiss the Law Division action by
                 arguing, in part, that the [arbitration agreement] was void as a matter of
                 public policy as it did not permit plaintiff to be awarded attorney’s fees.

                          In any action or proceeding brought under [the LAD], the
                          prevailing party may be awarded a reasonable attorney’s
                          fee as part of the cost, provided however, that no
                          attorney’s fee shall be awarded to the respondent unless
                          there is a determination that the complainant brought the
                          charge in bad faith. [N.J.S.A. 10:5-27.1.]

                 If plaintiff prevails in arbitration against defendants, he is entitled to
                 reasonable attorney’s fees because such fees would be a statutory
                 remedy. (emphasis added)

        On April 26, 2019, three days after the Appellate Division’s decision, Plaintiff initiated the

AAA arbitration. On May 31, 2019, counsel for Hermès emailed the AAA that “multiple court orders

… require [Swain] to arbitrate his claims.”2 On June 3, 2019, Hermès filed its Answer to Plaintiff’s

claims, but asserted they were barred by the statute of limitations. As Hermès would quickly reveal to

the AAA, although concealed in its prior court appearances, the only “arbitration” on Plaintiff’s claims

it supported would be through Hermes’s motion to dismiss filed after arbitration was initiated. Nothing

in the arbitration agreement, or the law, supported Hermes’s position. That is, until the arbitrator

decided the issue over Plaintiff’s objection.

        Because the parties could not agree on an arbitrator, on July 11, 2019 the AAA selected Sharon

Stiller, Esq., to be the arbitrator for this case. In an August 5, 2019 organizational call, Hermès advised



2
 As shown in the procedural history section of this brief, separate orders from the Southern District of New York and
Second Circuit Court of Appeals required Plaintiff Swain’s claims to be arbitrated.




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the arbitrator it wanted to file a motion to dismiss the arbitration based on the statute of limitations.

Plaintiff’s counsel objected that the Appellate Division ordered Plaintiff’s claims to be arbitrated and

that the statute of limitation was being improperly raised.

       The arbitrator permitted Hermès to file a motion to dismiss Plaintiff’s claims based on a statute

of limitations defense, which it did the next day. Plaintiff opposed the motion by arguing the statute of

limitations defense was barred by the Appellate Division order to arbitrate his claims and the equitable

doctrines of waiver, estoppel and laches pursuant to seminal New Jersey cases.

       On October 1, 2019, the arbitrator rejected Plaintiff’s opposition based on the Appellate

Division order, erroneously marginalizing it as “[a]ll that the Court determined was that the case should

be in an arbitration forum.” Despite the Plaintiff’s objection to the statute of limitations issue being

considered, the arbitrator concluded there was no objection to her deciding that defense and summarily

rejected any equitable tolling of the statute of limitations during the case’s litigation in the courts. The

arbitrator nevertheless denied Hermès’ motion because it was unclear if the defense was waived when

it could have been raised earlier in the courts.

       Hermès requested reconsideration, arguing that the arbitrator was to decide if a statute of

limitations barred the arbitration pursuant to the factually and legally distinguishable cases of Howsam

v. Dean Witter Reynolds, Inc., 537 U.S. 79 (2002) and Russell v. HCL America, Inc., 2019 N.J. Super.

Unpub. LEXIS 1522 (App. Div., July 5, 2019). The arbitrator never applied these cases before

dismissing Plaintiff’s claims.

       Howsam’s inapplicable holding was limited to an securities industry arbitrator deciding the

time limit rule of NASD Code of Arbitration Procedure § 10304. 537 U.S. at 85. Russell, an

unpublished Appellate Division LAD decision, involved the parties’ stipulated agreement to arbitration




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and then the plaintiff’s failure to initiate arbitration for one year, five months and eighteen days

thereafter that resulted in the arbitration’s dismissal on statute of limitations grounds. In direct contrast

to Plaintiff Swain’s case, the Appellate Division in Russell found that the Plaintiff was on notice “that

she had the obligation to initiate the arbitration” and failed to do so for an inexcusable passage of time.

2019 N.J. Super. Unpub. LEXIS 1522 at *2. The party responsible to initiate arbitration was directly at

issue throughout the litigated history of the instant matter, demonstrating why Russell should have

been rejected by the arbitrator.

       Plaintiff opposed reconsideration with separate instances where Hermès informally – and

unsuccessfully – argued the statute of limitations before this court and the Appellate Division, which

were followed by the order to arbitrate his claims. In neither of those instances did the Defendants

argue the court lacked jurisdiction to decide the statute of limitations defense because the parties

allegedly agreed for the arbitrator to decide that issue. Defendants also did not argue the arbitrator was

authorized by the arbitration agreement to decide the statute of limitations defense, and their reply brief

for reconsideration cited to more inapposite case law.

       On December 10, 2019, the arbitrator reconsidered the prior denial, concluded that the statute of

limitations defense had not been waived, and granted the Hermès motion to dismiss Plaintiff’s claims

in their entirety. The arbitrator’s order of dismissal was illegal and must now be vacated for this case to

be reinstated in the Superior Court.

       The law is settled that “[a]n agreement to arbitrate, like any other contract, ‘must be the product

of mutual assent, as determined under customary principles of contract law.’” Atalese v. U.S. Legal

Services Group, L.P., 219 N.J. 430, 442 (2014). “‘[O]nly those issues may be arbitrated which the




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parties have agreed shall be.’” Id. (quoting Garfinkel v. Morristown Obstetrics & Gynecology Assocs.,

168 N.J. 124, 132 (2001)).

       It is axiomatic that “[t]he scope of an arbitrator’s authority depends on the terms of the contract

between the parties.” Scotch Plains-Fanwood Bd. of Educ. v. Scotch Plains-Fanwood Educ. Assn’n,

139 N.J. 141, 149 (1995). “[A]n arbitrator may not exercise greater authority than the contract

confers.” Id; Grover v. Universal Underwriters Ins. Co., 80 N.J. 221, 231 (1979)(“what may be

arbitrable depends upon the consent of the parties. In addition it is the agreement of the parties which

delineates the scope of that authority [and] an arbitrator’s award “should be consonant with the matter

submitted. Otherwise, the determination is contrary to the authority vested in him.”); Bound Brook Bd.

of Educ. v. Ciripompa, 228 N.J. 4, 12 (2017). Thus, “an arbitrator exceeds his or her ‘authority by

disregarding the terms of the parties’ agreement.’” Borough of East Rutherford v. East Rutherford PBA

Local 275, 213 N.J. 190, 203 (2013); see also Tretina Printing, Inc. v. Fitzpatrick & Assocs., 135 N.J.

349, 359 (1994).

       Applying United States Supreme Court holdings that treat an arbitration agreement as severable

and enforceable, the New Jersey Supreme Court has established that issues of arbitrability are also

severable and enforceable. Thus, “[i]n order to be decided by a court, an arbitrability challenge -- a

challenge as to whether a particular matter is subject to arbitration or can be decided by a court -- must

be directed at the delegation clause itself (which itself constitutes an arbitration agreement subject to

enforcement).” Goffe v. Foulke Mgt. Corp., 238 N.J. 191, 195 (2019)(citing Prima Paint Corp. v. Flood

& Conklin Mfg. Co., 388 U.S. 395, 403-04 (1967)); see also Morgan v. Sanford Brown Inst., 225 N.J.

289, 303 (2016)(observing that “a delegation clause in an arbitration agreement can provide that an

arbitrator, rather than a judge, will decide such ‘threshold issues’ as whether the parties agreed to




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arbitrate a legal claim brought by a plaintiff”)(citing Rent-A-Center, West, Inc. v. Jackson, 561 U.S.

63, 68 (2010)). “Unless the parties have clearly delegated to an arbitrator the decision whether the

parties agreed to arbitration, the issue is for a court to resolve.” Id. at 295-296 (emphasis by Court).

       The Hermès arbitration agreement, as required by the Appellate Division’s order, delegated

authority to the arbitrator only to decide Plaintiff’s substantive claims, or the “disputes covered” by the

agreement. The parties never agreed, and nowhere is it stated in the arbitration agreement or its

delegation clause, that a statute of limitations was an arbitrable dispute. Plaintiff’s objection to the

arbitrator deciding this issue were overruled and the arbitrator’s eventual order dismissing his claims as

untimely was illegal. As a result, the arbitrator’s order of dismissal must now be vacated because

               (1)     the law of the case required the arbitrator to arbitrate Plaintiff’s
                       claims, not dismiss them without a hearing on the merits;

               (2)     the arbitrator’s “misconduct” that “exceeded [her] powers” on an
                       issue for which “there was no agreement to arbitrate” is grounds
                       to vacate pursuant to N.J.S.A. 2A:23B-23(a)(2), (4), and (5); and

               (3)     the arbitrator’s award violates the LAD’s public policies.

       As the arbitrator had no authority to dismiss Plaintiff’s claims on a threshold procedural issue,

and without Plaintiff Swain receiving the ordered hearing on his claims’ merits, the arbitrator’s order

must now be vacated and Plaintiff’s case reinstated in the Superior Court under Rule 4:50. Tretina v.

Fitzpatrick & Assocs., 135 N.J. 349, 360-61 (1994)(holding that an arbitration is concluded and its

“[r]esubmission is foreclosed because with the rendering of an award, an arbitrator exhausts his or her

commission”); ASHI-GTO Associates v. Irvington Pediatrics, P.A., 414 N.J. Super. 351, 359 (App.

Div. 2010)(“Upon a showing of good cause, an order dismissing a matter [for arbitration] may be set

aside and the case restored; that the statute of limitations may have run in the interim is not a

bar.”)(citing Miller v. Estate of Kahn, 140 N.J. Super. 177, 182 (App. Div. 1976)); St. James AME




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Dev. Corp. v. City of Jersey City, 403 N.J. Super. 480, 484 (App. Div. 2008)(observing that “it is a

tenet of our jurisdiction that resolution of disputes on the merits are to be encouraged rather than

resolution by default for failure to comply with procedural requirements”).3

                            MATERIAL FACTS & PROCEDURAL HISTORY

I.       LITIGATION IN THE COURTS

         A.       Plaintiff’s Timely Filed Lawsuit

         The Appellate Division decision summarized the case’s facts as follows:

                  Plaintiff began his employment with HOP in July 2015, as the Managing
                  Director of its boutique in the Mall at Short Hills. Bautista was an upper
                  manager who also worked at the boutique. In October 2015, plaintiff
                  submitted a complaint to HOP’s human resources department alleging
                  that Bautista made repeated slurs about plaintiff’s sexual orientation.
                  Shortly thereafter, HOP terminated plaintiff’s employment, stating that
                  he was “not the right fit.”

         On July 19, 2016, Plaintiff’s complaint was timely filed in the New Jersey Superior Court.

(Hager Cert., Exhibit 1). The complaint asserted LAD claims against Hermès for sexual orientation

discrimination, hostile work environment and retaliation, and individual liability against Hermès

supervisory manager Lorenzo Bautista for aiding and abetting the LAD violations. The complaint

asserted a breach of contract claim because Plaintiff was not paid a promised bonus. Punitive damages

were also requested. Pursuant to their counsel’s request, Defendants received a copy of Plaintiff’s filed

Complaint on August 4, 2016. (Hager Cert., Exhibit 2).




3
 Plaintiff’s LAD and breach of contract claims should all be reinstated pursuant to “notions of judicial economy [that]
dictate the joinder of those claims in a single Law Division action.” Garfinkel v. Morristown Obstetrics & Gynecology
Assocs., P.A., 168 N.J. 124, 137 (2001).




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         B.       The Hermès Arbitration Agreement

         Hermès responded that Plaintiff’s claims were to be arbitrated under its “dispute resolution

procedure”, or DRP. (Hager Cert., Exhibit 3). By its express terms, the DRP did not include a statute of

limitations defense as an arbitrable “covered dispute” to be decided by the arbitrator. Instead, the DRP

limited the arbitrator to deciding Plaintiff Swain’s substantive claims:

                  Hermès of Paris, Inc. [“HOP” or “the Company”] is adopting a Dispute
                  Resolution Procedure designed to result in more efficient, less expensive,
                  and less disruptive dispute resolution procedures for employees and
                  HOP. With this Dispute Resolution Procedure, the Company’s goal is to
                  facilitate the prompt resolution of any disputes, and to resolve them
                  confidentially and fairly without having to resort to the court system. A
                  list of disputes covered and excluded is attached is attached at the
                  end of this letter.

                  ….

         Step 3. (Final and Binding Arbitration)4

                  If a dispute cannot be resolved through mediation, either you or HOP
                  may initiate final and binding arbitration within six months after you or
                  HOP become aware, or should have reasonably become aware, of the
                  facts giving rise to the dispute, unless the dispute arises under a law that
                  provides an alternate filing period, in which case such period shall apply.
                  Your request for arbitration should be sent to the SVP or Senior Director
                  of Human Resources.

                  Arbitration offers a speedy, confidential and economical way for you
                  and HOP to present the dispute to an independent, experienced,
                  neutral arbitrator whom you and HOP will jointly select from the
                  AAA arbitrator panel. The arbitrator will decide the dispute and his
                  or her decision will be binding on both you and HOP. The arbitrator
                  has the same power to award the remedies otherwise available in court.
                  HOP will pay the costs and fees associated with the arbitration, and you




4
  Before the arbitration provision in step three, the DRP contained an initial step one for informal in-house dispute
resolution and step two for AAA mediation.




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                  may, if you wish, be represented by an attorney in the arbitration, but you
                  will be responsible for your attorneys’ fees.5

                  The dispute will be resolved by a single arbitrator to be held in City,
                  State and County of New York, unless you and the Company agree
                  otherwise. Applicable AAA Employment Arbitration Rules will apply
                  except as otherwise specified in this agreement. In reaching his or her
                  decision, the arbitrator shall apply the governing substantive law
                  applicable to the parties’ claims and defenses otherwise available in
                  court and enforce HOP policies and procedures, as applicable. (The
                  Weblink for AAA is referenced in the attachment at the end of this letter.
                  On this website you will find useful information that explains these
                  alternative dispute resolution procedures in greater detail).
                  Any dispute submitted to arbitration must be submitted only on behalf of
                  you individually or HOP, and neither you nor HOP shall have the right to
                  obtain relief through a class or collective action, or join or consolidate
                  your dispute with the claims of any other person. The arbitrator shall
                  have no authority or jurisdiction to process, conduct or rule on any class,
                  collective or private attorney general proceeding, or to consolidate any
                  individual claims in one proceeding absent mutual consent of the parties.
                  (emphasis added)

         “Disputes covered” by the Hermès DRP were limited to the following, and expressly did not

include the arbitration of any limitations defense:

                  [a]ll legal and equitable claims, demands, and controversies, of
                  whatever nature or kind, whether in contract, tort, under statute or
                  regulation, or some other law, between you and HOP ... and employees
                  (collectively “HOP Entities and Persons”) ... including, without
                  limitation, those arising out of or related to: (i) the terms and conditions
                  of your employment with, or separation from HOP or HOP Entities and
                  Persons; (ii) any agreements (written or oral) now in existence or that
                  may come into existence in the future between you and HOP or HOP
                  Entities and Persons; (iii) any employment policies or employee benefit
                  plans; (iv) disputes arising from or related to alleged unfair competition,
                  violation of trade secrets, disclosure of confidential, proprietary or
                  private information belonging to HOP or HOP Entities and Persons; (v)
                  claims arising from or related to alleged discrimination, harassment, or
                  retaliation in employment (including, but not limited to, race, sex,
                  sexual orientation, religion, national origin, age, marital status, physical
                  or mental disability or handicap, or medical condition) under any

5
 As noted above, the Appellate Division voided this portion of the arbitration agreement insofar as it contravened the
LAD’s fee-shifting provisions.




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               federal, state and/or other governmental law, statute, regulation, and/or
               ordinance; (v)[sic] any whistleblowing claims arising under federal,
               state and local laws and common law; (vi) any claims relating to leaves
               of absence, benefits, or compensation or post-termination benefits under
               federal. state and local laws ...

       “Disputes excluded” from the DRP were as follows:

               (i) claims for workers’ compensation benefits; (ii) claims for
               unemployment compensation benefits; (iii) claims that are legally
               prohibited from being submitted to mandatory arbitration (iv) claims
               under benefit plans with their own claims procedures; and (v) claims for
               injunctive relief to enforce the arbitration provisions of this Agreement,
               pending resolution of any dispute through the procedure set forth herein.

               Additionally, the Dispute Resolution Procedure does not restrict you
               from exercising any statutory right you may have to initiate or participate
               in any unfair labor practice cases or other proceedings before the
               National Labor Relations Board, to file a charge with, provide
               information to or participate in any proceeding or seek assistance through
               the Securities Exchange Commission, U.S. Equal Opportunity
               Commission or other state or local fair employment practices agencies or
               other governmental agency, or to report any fraud or violation of law to
               any other governmental agency or law enforcement body; provided,
               however, you must submit all claims for individual monetary or
               equitable relief in connection with any disputes covered to binding
               individual Arbitration, which will be your sole and exclusive avenue
               to obtain damages monetary or equitable relief. (emphasis added)

       C.      The Hermès Petition to Compel Arbitration Filed in the SDNY

       On August 5, 2016, Hermès filed a petition in the Southern District of New York to compel

Plaintiff’s LAD claims into arbitration pursuant to the Federal Arbitration Act. (Hager Cert., Exhibit 4).

Hermès’ petition omitted individual Defendant Bautista to create federal diversity jurisdiction.

       On August 23, 2016, Plaintiff’s counsel objected to the federal court exercising personal

jurisdiction over Plaintiff, a New Jersey resident who only worked in Hermès’ Short Hills location.

(Hager Cert., Exhibit 5). On September 8, 2016, Southern District Chief Judge McMahon held an in




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Chambers conference, off the record, wherein she summarily concluded Plaintiff Swain agreed to

arbitrate his LAD claims under the DRP.

         On September 13, 2016, the federal court granted Hermès’ petition and compelled Plaintiff’s

LAD case into arbitration. (Hager Cert., Exhibit 6). However, Judge McMahon concluded the New

York federal court could not enjoin Plaintiff’s LAD Superior Court action and denied Hermès’ request

as follows:

                The Court has the authority to enjoin Respondent [Swain] from proceeding in
                New Jersey, but Hermes has made no such motion. Nothing precludes it from
                doing so now – or from seeking a stay of proceedings directly in the New Jersey
                Superior Court, where it could and should have brought this proceeding to
                compel in the first place.

(Id.).

         The order compelling arbitration was not final as “it merely suspended the litigation until after

the arbitration proceedings were complete, at which time the dispute would be subject to final

resolution by the court confirming, vacating, or modifying the award.” Wein v. Morris, 194 N.J. 364,

377 (2008)(explaining N.J.S.A. 2A:24-4). Hermes disregarded Judge McMahon’s invitation to move

for a stay in the New Jersey Superior Court. Such a motion would have been pursuant to N.J.S.A.

2A:24-4 and would have stayed this case “until an arbitration has been had in accordance with the

terms of the agreement.” By failing to obtain a stay, Hermes also failed to remove the Superior Court’s

jurisdiction from further review of the arbitration agreement. Jaworski v. Motor Club of America Ins.

Co., 182 N.J. Super. 651, 659 (App. Div. 1981)(retaining jurisdiction in court under 2A:24-4). Instead,

as shown below, Hermes filed a motion in the Law Division to dismiss Plaintiff’s case with prejudice

that would be denied.




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       D.      Plaintiff’s Appeal to the Second Circuit Court of Appeals

       On September 14, 2016, Plaintiff filed an appeal with the United States Court of Appeals for

the Second Circuit.

       E.      The Hermès Law Division Motion to Dismiss with Prejudice was Denied

       Instead of filing the motions suggested by SDNY Chief Judge McMahon, on September 22,

2016, Hermès filed a motion in the Law Division to dismiss Plaintiff’s LAD case with prejudice.

(Hager Cert., Exhibit 7). Plaintiff certified in opposition that he did not know of or agree to the DRP.

(Hager Cert., Exhibit 8).

       On November 18, 2016, Law Division Judge Francine Schott denied Hermès’ motion,

including its request for an award of monetary sanctions, and Ordered that Plaintiff’s complaint would

be dismissed “without prejudice pending the outcome of the matter involving these parties presently on

appeal in the Second Circuit Court of Appeals.” (Hager Cert., Exhibit 9). Judge Schott described the

intent of her Order as follows:

               Why don’t I just dismiss this without prejudice and put in the order, it’s without
               prejudice to the plaintiff moving to reinstate or the defendant moving to dismiss
               with prejudice after the Second Circuit rules[.]

(Hager Cert., Exhibit 10 at T7:6-10)(highlighted for emphasis).

       F.      The Second Circuit Affirmed the SDNY’s Arbitration Order

       On August 14, 2017, the Second Circuit concluded the district court had diversity jurisdiction

and affirmed the judgment granting Hermès’ FAA petition to compel arbitration of Plaintiff’s LAD

claims under the DRP. Its Mandate was filed on September 6, 2017. (Hager Cert., Exhibit 11). Hermès

took no further action.




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        G.      Plaintiff’s Motion to Reinstate

        On March 9, 2018, Plaintiff filed a motion in the Law Division to invalidate the Hermès

arbitration agreement under Roach v. BM Motoring, LLC, 228 N.J. 162 (2017), a Supreme Court

decision rendered after Judge Schott denied the Hermès motion to dismiss with prejudice. Plaintiff

moved to reinstate his LAD complaint under Rule 4:42-2. (Hager Cert., Exhibit 12).

        Plaintiff’s motion argued Hermès materially breached its arbitration agreement by not timely

initiating the arbitration it petitioned the federal courts to compel. Plaintiff argued the arbitration

agreement was ambiguous about the party required to initiate arbitration as it stated “either you or

Hermès may initiate final and binding arbitration within six months,” which should have been

construed against Hermès as the drafter of the contract.

        Hermès opposed the motion by arguing it did not breach the arbitration agreement and that

Plaintiff Swain was obligated to initiate arbitration under the agreement. Although by this point in time

Hermès believed Plaintiff’s LAD claims were allegedly barred by the statute of limitations, Hermès did

not argue its arbitration agreement delegated to the arbitrator the authority to decide if Plaintiff’s claims

were timely under a statute of limitations. Hermès also did not cross move to bar Plaintiff’s claims

based on statute of limitations.

        On March 29, 2018, Law Division Judge Keith E. Lynott heard extensive oral argument, during

which he asked Hermès’s counsel if it was his position that Plaintiff Swain could no longer initiate

arbitration. Without directly answering the question, Hermès’s counsel responded that the LAD’s

statute of limitations expired in November, 2017, or two-years after Plaintiff’s termination. (Hager

Cert., Ex. 13 at T24:24 – 25:9). Hermès again did not contend its arbitration agreement delegated

authority for the arbitrator to decide if Plaintiff’s arbitration was timely filed.




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         On May 25, 2018, Judge Lynott denied Plaintiff’s motion with rationale that implicitly rejected

Hermès’s reference to a statute of limitations issue with separate observations by the court that

Plaintiff’s claims could still be arbitrated:

                  To read the DRP to permit a party seeking relief against the other for a
                  claim or matter covered by the DRP to pursue that relief in a court unless
                  the other party first initiates an arbitration is to countenance conduct
                  directly at odds with both the plain letter and spirit of the DRP and to
                  render nugatory the language expressly declaring arbitration to be the
                  exclusive forum for resolution of covered disputes. It is axiomatic that
                  the Court must construe the text of an agreement as a whole and accord
                  all of its terms independent meaning.

                  When the Court gives all the terms of the DRP their intended effect, it is
                  readily apparent that the phrase “may initiate” means that, in the event of
                  a dispute to which the DRP is applicable, either party is permitted to
                  commence an arbitration. though neither is required to do so. But, the
                  DRP also plainly requires that, if a party seeks a remedy against the
                  other, that party must bring the dispute to arbitration in accordance with
                  the DRP.

                  ….

                  In all the circumstances. the Court concludes the plain letter of the DRP
                  required Swain, not Hermes, to initiate the arbitration if he wanted an
                  adjudication of his claims. Under the procedural mechanism set up in the
                  agreement, Swain was required to do so by sending a notice to Hermes’s
                  SVP or Senior Director of Human Resources. It was and is only upon
                  receipt of such notice from Swain that Hermes was required to act to
                  notify AAA of the need for its services.

                  Had Hermes refused to proceed to arbitration upon receipt of such a
                  notice from Swain initiating the arbitration, then Swain would have
                  a legitimate basis for a claim of breach. But, in the circumstances here,
                  in which Swain failed to deliver the required notice initiating the
                  arbitration process, the Court cannot conclude that Hermes was obligated
                  to initiate an arbitration or that it breached the DRP by failing to do so.

(Hager Cert., Ex. 14)(emphasis added).6


6
  As it turned out, Hermès did refuse to proceed after the AAA arbitration was initiated, moving instead to dismiss it before
a hearing.




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           In language quoted by the Appellate Division in its April 23, 2019 affirmance, Judge Lynott

concluded

                     the DRP required [HOP] to “pay” – not advance – the fees and costs of
                     an arbitration. As no arbitration is yet in progress, there were and are
                     no fees and costs to pay.

                     [t]he record reflects that [HOP] was willing to proceed with the
                     mediation step and there is no basis in this record . . . that it would not
                     have satisfied its obligation to bear the costs of either that phase or an
                     arbitration if and when it were asked to do so.

                     ….

                     In contrast, Swain did not commence and has not yet commenced an
                     arbitration. The AAA has not asked for payment of its filing fees and
                     costs. It has not dismissed or threatened to dismiss
                     an arbitration for failure to pay its fees and costs. Moreover, the record
                     on this motion indicates that Hermes communicated to both the AAA and
                     Swain that it was ready, willing and able to proceed with the mediation
                     phase. There is no basis on this record to conclude it would have refused
                     to cooperate with the AAA in an arbitration - including by promptly
                     honoring all requests
                     for fees and costs - had Swain initiated the proceeding in accordance with
                     the DRP and the District Court’s ruling

(Id.).

           Plaintiff filed a timely appeal, with the parties reasserting their respective positions. Hermès

again did not argue the arbitrator was to decide the timeliness of Plaintiff’s claims under its arbitration

agreement.

           H.        The Appellate Division’s Affirmance and Order to Arbitrate

           On April 1, 2019, the Appellate Division heard oral argument on Plaintiff’s appeal. Appellate

Division Judge Fasciale asked Hermès’s attorney during the argument if Hermès contended Plaintiff

Swain’s LAD claims were barred by the statute of limitations. Hermès’s attorney responded “yes.”7


7
    Plaintiff’s counsel represents this occurred as an officer of the court, as there is no known transcript.




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        As with Judge Lynott’s decision, the Appellate Division’s decision and order for Plaintiff’s

claims to be arbitrated implicitly rejected the Hermès statute of limitations defense. This is because the

Appellate Division held that “[i]f plaintiff prevails in arbitration against defendants, he is entitled to

reasonable attorney’s fees because such fees would be a statutory remedy” under the LAD, and ended

its Opinion “[w]e therefore order the parties to arbitrate plaintiff’s claims.” (Hager Cert., Exhibit 15).

II.     The AAA Arbitration Initiated Three Days Later

        As noted above, Plaintiff’s counsel initiated the arbitration three days after the Appellate

Division’s decision. (Hager Cert., Exhibit 16). On June 3, 2019, Hermès filed its Answer to Plaintiff’s

complaint filed with the AAA. (Hager Cert., Exhibit 17). For the first time, Hermès formally asserted a

statute of limitations defense, but without demonstrating that the arbitrator was authorized to decide

that issue under the arbitration agreement:

               As a threshold and fully dispositive matter, all of Swain’s claims are
               barred by the applicable six month (for Swain’s breach of contract claim)
               and two-year (for his discrimination claims) contractual limitations
               periods set forth in the DRP. Swain commenced this arbitration on April
               26, 2019 - three years and five months after he last worked for Hermes.
               Because Swain seeks relief in violation of the terms of the DRP,
               specifically its express limitations periods, Hermes asks that the
               Arbitrator hear a motion to dismiss as soon as possible in the interests of
               speed, efficiency and preservation of resources.

(Id.)

        On August 5, 2019, an arbitration management conference call was held with the arbitrator and

parties’ counsel wherein Hermès reiterated that the claims should now be dismissed under the statute of

limitations. Overruling Plaintiff’s objection to this issue being considered, the arbitrator permitted

Hermès to file a dispositive motion based on the statute of limitations. (Hager Cert., Exhibit 18).




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       Hermès’s motion to dismiss was filed immediately thereafter, and it argued that Plaintiff’s

claims were barred by what it described now as the DRP’s “contractual limitations period,” something

it never asserted during extensive litigation analyzing that exact provision. (Hager Cert., Exhibit 19).

Hermès’s motion ignored the DRP’s express terms specifying the “covered disputes” to be arbitrated,

and law of the case ordering “the parties to arbitrate plaintiff’s claims.” Hermès’s motion also failed to

show that the arbitration agreement authorized the arbitrator to decide the statute of limitations issue.

       On August 19, 2019, Plaintiff opposed the motion based on the Appellate Division order to

arbitrate and that Hermès was equitably barred from raising the statute of limitations it had failed to

properly assert in court. (Hager Cert., Ex. 20). As noted in exhibit A to Plaintiff’s motion, on May 31,

2019, Hermès’s counsel represented in writing to the AAA that there “were multiple court orders

which require [Plaintiff Swain] to arbitrate his claims in compliance with the terms of the DRP.”

(Id.)(highlighting added for emphasis). This representation was consistent with Plaintiff’s opposition,

and inconsistent with Hermès’s statute of limitations defense asserted in its motion.

       In reply, Hermès argued its motion to dismiss was the extent of “the arbitration” Plaintiff was

permitted to receive on his claims:

                There is not a word in the Appellate Division decision guaranteeing
                Swain an evidentiary hearing, or precluding the Arbitrator from
                granting a motion to dismiss. This motion and its resolution are the
                arbitration that four courts and nine judges have told Swain is the only
                forum for resolution of his claims.

(Hager Cert., Exhibit 21)(emphasis in original).

       As stated above, on October 1, 2019, the arbitrator rejected Plaintiff’s opposition to Hermès’s

motion, but denied it without prejudice on the issue of waiver. (Hager Cert., Exhibit 22).




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        On October 3, 2019, Hermès requested reconsideration based on the fallacy it was unable to

assert a statute of limitations defense in court because “the sole issue before each court was whether

[Swain] had filed in the wrong forum and whether the dispute should be heard in arbitration.” (Hager

Cert., Ex. 23).8 Again, Hermès failed to show that the DRP authorized the arbitrator to decide the

statute of limitations defense and relied on the inapposite cases of Howsam and Russell. On October 4,

2019, the arbitrator held a conference call with counsel wherein she permitted further submissions on

whether Hermès waived the statute of limitations.

        On October 11, 2019, Plaintiff opposed reconsideration with court records showing Hermès

asserted the statute of limitations issue before the Law Division and Appellate Division without

arguing it was an arbitrable dispute, and that it was waived from being decided by the arbitrator. (Hager

Cert., Exhibit 24). On November 15, 2019, Hermès replied by conceding it had, in fact, raised the

statute of limitations defense separate times in court, but that arbitration allegedly was the first

opportunity for it to raise a “contractual limitations defense” for a ruling. (Hager Cert., Exhibit 25).

Hermès again failed to show where in the arbitration contract it was agreed that the arbitrator was

authorized to decide the timeliness defense.

        Without reference to the arbitration contract or her powers defined by the agreement, and

misrepresenting Plaintiff’s submissions, the arbitrator reconsidered her denial of Hermès’s motion and

illegally dismissed Plaintiff’s claims in their entirety on December 10, 2019:

                 In his letter Memorandum, Claimant [Swain’s] counsel agrees that
                 Respondents raised the statute of limitations issue in the prior
                 proceedings. Claimant, however, takes the position that the statute
                 of limitations issue was raised “unsuccessfully.” Claimant does not
                 supply any Order denying any application to dismiss based on statute of
                 limitations, nor does it appear that any Court addressed the defense.

8
  As shown below, the Supreme Court’s decision in Galligan v. Westfield Centre Service supports tolling a statute of
limitations where, as here, a case is filed in a court of “questionable or defective jurisdiction.”




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               Instead, although the defense was admittedly raised in those proceedings,
               the proceedings were devoted to whether the matters could be resolved in
               Court or must proceed to arbitration. Respondents reply that because the
               issue was raised, it was not waived, and further, that since the other
               proceedings addressed only the arbitration requirement, the defense was
               preserved but could only be addressed in this arbitration forum on this
               motion. Respondents have provided case law supporting this position.
               Claimant has neither taken the position that any behavior on the part of
               Respondents waived the defense, nor has Claimant presented any case
               law suggesting that the agreed upon conduct of the Respondents
               amounted to a waiver. As a result, it is appropriate to reconsider the
               matter, and upon reconsideration, grant the Respondents’ motion to
               dismiss.

(Hager Cert., Exhibit 26).

                                        LEGAL ARGUMENT

       PLAINTIFF’S CASE MUST BE REINSTATED IN THE SUPERIOR COURT
       BECAUSE IT WAS ILLEGALLY DISMISSED BY THE ARBITRATOR ON A
       NONARBITRABLE PROCEDURAL ISSUE

       (A)     The Law of the Case was for Plaintiff’s Substantive Claims to be Arbitrated

       The law of the case required the arbitrator “to arbitrate” – or decide – Plaintiff’s substantive

claims. See Lombardi v. Masso, 207 N.J. 517, 538 (2011)(explaining that “[t]he law of the case

doctrine teaches us that a legal decision made in a particular matter ‘should be respected by all other

lower or equal courts during the pendency of that case.’”)(citing Lanzet v. Greenberg, 126 N.J. 168,

192 (1991)). The arbitrator’s order dismissing the claims on a statute of limitations grounds, and

without deciding their merits, violated the Appellate Division order and must now be vacated.

       (B)     The Arbitrator Decided an Issue Not Delegated by the Arbitration Agreement

       Over the past few years the New Jersey Supreme Court has issued important decisions

regarding the enforceability of private arbitration agreements, and whether questions about arbitrability

are to be decided by a court or arbitrator. Morgan, supra, 225 N.J. at 306 (holding arbitration provision




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was unenforceable because it failed to “explain that an arbitrator will decide whether the parties agreed

to arbitrate legal claims, including statutory violations”); Goffe, supra, 238 N.J. at 212-213 (enforcing

delegation clause for arbitrator to decide Plaintiffs’ statutory and common law claims). The Court’s

decisions dictate that Plaintiff’s motion be granted to vacate the arbitrator’s award and that his case be

restored into the Superior Court.

       Morgan explained that “[a]rbitrability is whether the parties have agreed to submit to an

arbitrator or a court the authority to decide whether a dispute is subject to arbitration.” Morgan, supra,

225 N.J. at 295, footnote 1 (citing First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 942-43 (1995)).

“A delegation clause is a clause in an arbitration agreement that assigns to the arbitrator the decision

whether a dispute is subject to arbitration.” Id. at footnote 2 (citing Rent-A-Center, supra, 561 U.S. at

68-69). “An agreement to delegate arbitrability to an arbitrator, like an arbitration agreement itself,

must satisfy the elements necessary for the formation of a contract under state law.” Id. “Parties to an

arbitration agreement can agree to delegate to an arbitrator the issue of whether they agreed to arbitrate

a particular dispute.” Id. However, “[u]nless the parties have clearly delegated to an arbitrator the

decision whether the parties agreed to arbitration, the issue is for a court to resolve.” Id. (emphasis by

the Court). “Silence or ambiguity in an agreement does not overcome the presumption that a court

decides arbitrability.” Id. (citing AT&T Techs., Inc. v. Commun’s Workers, 475 U.S. 643, 649 (1986)).

       “A party seeking to enforce a delegation clause in an arbitration agreement should make clear to

the motion court that the decision whether the parties agreed to arbitration resides with the arbitrator,

not the court.” Id. at 311. As in Morgan, the parties in the instant matter expected the motion court to

decide whether Plaintiff’s claims were subject to arbitration. Id. at 307. At no time did Hermès clearly

assert that its arbitration agreement delegated an arbitrator the authority to decide if a statute of




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limitations impacted Plaintiff’s claims. Morgan established that Plaintiff Swain was not obligated to

specifically challenge a delegation provision that was not clearly identified in the Hermès arbitration

agreement. Id. at 296.

        The issue in Morgan was whether a judge or an arbitrator would decide whether the parties

agreed to arbitrate the consumer-fraud and other claims raised in plaintiffs’ complaint. Id. at 294. More

specifically, “whether the parties formed a contract—that is, whether the parties concluded an

agreement.” Id. at 306. The Court contrasted the arbitration provision it was reviewing with the

contract at issue in Rent-A-Center that “contained an arbitration provision with a clear and

unmistakable delegation clause” as follows:

                [t]he Arbitrator, and not any federal, state, or local court or agency, shall
                have exclusive authority to resolve any dispute relating to the
                interpretation, applicability, enforceability or formation of this
                Agreement.

(Id. at 305).

        Morgan held the arbitration provision at issue did not have a clearly identifiable delegation

clause because it read, in part:

                Any disputes, claims, or controversies . . . arising out of or relating to (i)
                this Enrollment Agreement; (ii) the Student’s recruitment, enrollment,
                attendance, or education; (iii) financial aid or career service assistance by
                SBI; (iv) any claim . . . or (v) any objection to arbitrability . . . shall be
                resolved pursuant to this paragraph.

Id. at 306 (emphasis in original).

        The Court held that because the “paragraph” did “not explain that an arbitrator will decide

whether the parties agreed to arbitrate legal claims, including statutory violations,” Plaintiff’s legal and

statutory claims were therefore to be decided by a court, not an arbitrator. Id.




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        In Goffe, the “central issue” was “whether plaintiffs should be compelled to address their

claims before an arbitrator.” 238 N.J. at 206. The delegation clause at issue was as follows:

                 DISPUTES COVERED: This agreement applies to all claims and
                 disputes between you and us. This includes, without limitation, all claims
                 and disputes arising out of, in connection with, or relating to:

                 • your purchase of any goods or services from us;
                 • any previous purchase of goods or services from us;
                 ....
                 • whether the claim or dispute must be arbitrated;
                 • the validity of this arbitration agreement;
                 • any negotiations between you and us;
                 • any claim or dispute based on an allegation of fraud or
                 misrepresentation, including fraud in the inducement of this or any other
                 agreement;
                 • any claim or dispute based on a federal or state statute including, but
                 not limited to the N.J. Consumer Fraud Act, N.J.S.A. 56:8-1 et seq. and
                 the Federal Truth in Lending Act;

Id. at 198.

        The Court held that the arbitration agreement was clear and enforceable, and that arbitrability of

Plaintiffs’ substantive claims under its delegation provision was not disputed:

                 Plaintiffs do not dispute the validity of the arbitration agreement itself
                 nor do they dispute the delegation provision within it that delegates the
                 question of arbitrability to the arbitrator. They have not attacked the
                 language or clarity of the arbitration agreement or its delegation clause.
                 Rather, they have continuously maintained that the contract was the
                 product of fraudulent inducement and that the arbitration agreement --
                 within that sales contract -- is thus also invalid.

                 ….

                 Federal precedent instructs that the arbitration agreements here be
                 severed from the rest of the agreement, whose totality [Plaintiffs] contest
                 on a number of grounds. [Plaintiffs] must arbitrate their claims as to the
                 enforceability of the overall sales contract. As a result, their various
                 statutory and common law claims, including their CFA claims, which
                 allege that defendants failed to give plaintiffs copies of the contracts they
                 signed, in violation of N.J.S.A. 56:8-2.22, should be decided by the




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                  arbitrator. Under these circumstances, we do not opine on the merits of
                  any of these claims, including the question of remedy for any alleged
                  violation of N.J.S.A. 56:8-2.22. In the same vein, plaintiffs’ claims that
                  they rescinded their contracts is also a question for the arbitrator. To the
                  extent that plaintiffs seek to argue that the cancellation of their purchases
                  is the factual and legal equivalent of a rescission, that argument still goes
                  to the enforceability of the sales agreement as a whole. Again, it is not a
                  specific challenge to the arbitration agreement that avoids enforcement of
                  the severed arbitration agreement.

Id. at 212-213.

         As shown above, the Hermès arbitration agreement authorized the arbitrator to only decide

Plaintiff Swain’s substantive claims. The contract did not include a statute of limitations defense as an

arbitrable “covered dispute” to be decided by the arbitrator, and Hermès failed to make clear to the

court during the litigation that the decision on whether the parties agreed to arbitrate that defense

resides with the arbitrator, not the court as required by Morgan. The arbitrator’s dismissal of Plaintiff’s

claims on that grounds was not authorized by the arbitration agreement and is grounds to vacate the

order and to restore this case to the Superior Court.

         (C)      The Law Requires the Arbitration Award Be Vacated

         N.J.S.A. 2A:23B-23 provides that “[u]pon the filing of a summary action with the court by a

party to an arbitration proceeding, the court shall vacate an award made in the arbitration proceeding”

for reasons including

         •        “misconduct by an arbitrator prejudicing the rights of a party to the arbitration
                  proceeding,” (N.J.S.A. 2A:23B-23(a)(2));

         •        “an arbitrator exceeded the arbitrator’s powers,” (N.J.S.A. 2A:23B-23(a)(4)); and

         •        “there was no agreement to arbitrate” a statute of limitations defense, (N.J.S.A. 2A:23B-
                  23(a)(5)).9


9
 Plaintiff’s instant motion complies with the requirement that it be filed within 120 days of being aggrieved by the
arbitrator’s order. N.J.S.A. 2A:23B-23(b).




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       As set forth above, the arbitrator’s misconduct in deciding the statute of limitations issue

without reference to the arbitration agreement and in defiance of the Appellate Division’s order

prejudiced Plaintiff Swain’s rights. Also, the “arbitrator exceeded the arbitrator’s powers” under

N.J.S.A. 2A:23B-23(a)(4) by disregarding the agreement and court orders to arbitrate Plaintiff’s claims.

Finally, “there was no agreement to arbitrate” a statute of limitations defense under N.J.S.A. 2A:23B-

23(a)(5). The award must therefore be vacated on these statutory grounds.

       Additionally, in Tretina Printing, the Supreme Court established that an arbitration award may

be vacated when it violates public policy. 135 N.J. at 364. In Rodriguez v. Raymours Furniture Co.,

Inc., 225 N.J. 343 (2016), the Supreme Court articulated the LAD’s strong public policies that the

arbitrator violated by dismissing Plaintiff Swain’s claims instead of deciding them on the merits:

               The LAD plays a uniquely important role in fulfilling the public
               imperative of eradicating discrimination. One searches in vain to find
               another New Jersey enactment having an equivalently powerful
               legislative statement of purpose, along with operative provisions that arm
               individuals and entities with formidable tools to combat discrimination
               not only through their use but also by the threat of their use. There is a
               huge incentive for employers to thoroughly investigate and respond
               effectively to internal complaints in order to limit or avoid liability for
               workplace discrimination. Responsible employers are partners in the
               public interest work of eradicating discrimination, but such responsible
               behavior takes time. A shortened time frame for instituting legal action or
               losing that ability hampers enforcement of the public interest.

               ….

               The LAD occupies a privileged place among statutory enactments in
               New Jersey. In 1945, prior to passage of our modern state constitution,
               the Legislature enacted the LAD to prevent and eliminate practices of
               discrimination based on race, creed, color, national origin or ancestry,
               and created an enforcement agency to achieve that goal. L. 1945, c. 169.

               The LAD is an express exercise of the state’s police powers. N.J.S.A.
               10:5-2. In relying on police powers when enacting the LAD, the
               Legislature recognized nothing less than a civil right. The exercise of




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               police power was deemed necessary “for the protection of the public
               safety, health and morals and to promote the general welfare and in
               fulfillment of the provisions of the Constitution of this State guaranteeing
               civil rights.” Ibid.

               In justifying the LAD’s enactment, the Legislature voiced its reasons for
               declaring abhorrence to discrimination in this state. It stated that
               practices of forms of discrimination against any of New Jersey’s
               inhabitants “are matters of concern to the government of the State, and
               that such discrimination threatens not only the rights and proper
               privileges of the inhabitants of the State but menaces the institutions and
               foundation of a free democratic State[.]” N.J.S.A. 10:5-3. Further, the
               Legislature declared “its opposition to such practices of discrimination
               when directed against any person” for the forbidden reasons, and certain
               others connected by family, or employment, or otherwise listed, “in order
               that the economic prosperity and general welfare of the inhabitants of the
               State may be protected and ensured.” Ibid. And connecting the harm to
               the individual to the harm that is visited on the State and the public
               interest by such actions, the Legislature did not mince words: “The
               Legislature further finds that because of discrimination, people suffer
               personal hardships, and the State suffers a grievous harm.” Ibid.

               Accordingly, it has long been recognized that the LAD seeks
               unequivocally to “eradicate” discrimination. Jackson v. Concord Co., 54
               N.J. 113, 124 (1969). Our decisional law respects that private interests
               are intertwined with the public interests furthered by the LAD. See e.g.,
               Lehmann v. Toys ‘R’ Us, 132 N.J. 587, 600 (1993)(stating that LAD
               was enacted “to protect not only the civil rights of individual aggrieved
               employees but also to protect the public’s strong interest in a
               discrimination-free workplace” (citation omitted)). As further proof that
               eradication of discrimination is a public interest, the Legislature cast a
               wide net in crafting what is included among LAD violations. The LAD is
               violated not only when an individual of a protected class is discriminated
               against, but also when reprisal is taken against any person who opposed
               such actions or practices forbidden by the LAD or who aided or
               encouraged any person in the exercise or enjoyment of any right granted
               or protected under the LAD. N.J.S.A. 10:5-12(d).

Id. at 347, 354-356.




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       With respect to New Jersey’s public policies modifying the application of harsh and devastating

statutes of limitations, the Supreme Court has explained

               A “just accommodation” of individual justice and public policy requires
               that “in each case the equitable claims of opposing parties must be
               identified, evaluated and weighed.” Whenever dismissal would not
               further the Legislature’s objectives in prescribing the limitation, the
               plaintiff should be given an opportunity to assert his claim.

               It has been recognized that a mistake in the selection of a court having
               questionable or defective jurisdiction should not defeat tolling of the
               statute when all other purposes of the statute of limitations have been
               satisfied.

Galligan v. Westfield Centre Service, Inc., 82 N.J. 188, 193 (1980)(citations omitted).

       Finding that Plaintiff’s complaint was timely filed in federal court even though it should have

been filed in the Superior Court because there was no diversity jurisdiction, which showed “proper

diligence on the part of the plaintiff which statutes of limitations were intended to insure,” the Court

held “the filing of a complaint in federal court suspended the running of the statutory period of

limitations.” Id. at 194-195. Plaintiff’s Superior Court complaint filed after the statute of limitations

was therefore deemed timely. Under Galligan, Plaintiff Swain’s prompt initiation of the arbitration of

his timely filed legal claims tolled the statute of limitations from barring his claims. The arbitrator also

did not find tolling applied.

       In Cole v. Jersey City Medical Ctr., the Supreme Court observed that “[t]he issue of whether a

party waived its arbitration right is a legal determination.” 215 N.J. 265, 275 (2013). Quoting its

decision in Knorr v. Smeal, 178 N.J. 169 (2003)(which Plaintiff also cited to the arbitrator in arguing

Hermès waived its known statute of limitations argument), Cole reiterated that “[d]etermining whether

a party waived a right is a fact-sensitive analysis.” Id. at 277. The Court held that the Defendant

“engaged in litigation conduct that was inconsistent with its right to arbitrate the dispute with its former




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employee,” and that the right was waived when it was raised by the Defendant three days before trial

and after twenty-one months of engaging in discovery. Id. at 281. The Court found “the timing of the

motion to compel arbitration,” after motion practice, further supported waiver of the right. Id. Under

the rationale and intent of Cole, Hermès similarly waived its right to assert the statute of limitations

defense after appearing before the Law Division and Appellate Division, without properly raising the

issue under Morgan, and then affirmatively asserting it in the dispositive motion to the arbitrator.

        (D)     Plaintiff’s Case Should be Reinstated Under Rule 4:50

        As the Appellate Division held in ASHI-GTO Associates, 4:50 authorizes a motion to reinstate

a Superior Court complaint after arbitration. 414 N.J. Super. 360-361. Although that panel held 4:50-

1(f) supported reinstatement for "any other reason justifying relief from the operation of the judgment

or order,” Plaintiff Swain respectfully submits that 4:50-1(d), “the judgment or order is void,” also

supports granting this motion.

                                                CONCLUSION

        For the reasons set forth herein, Plaintiff Matthew Swain respectfully requests that his motion

be granted to vacate the arbitrator’s award and reinstate his case in the Superior Court.

                                                 Respectfully submitted,
                                                 HAGER LAW, LLC

                                                 s/ Christopher W. Hager

December 23, 2019




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HAGER LAW, LLC 55 Madison Avenue, Suite 400 Morristown, NJ 07960
